The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1994. The statement which you have submitted is as follows:
    Shall Article VIII of the Missouri Constitution be amended to provide that Missourians intend this initiative lead to adoption of an amendment to the United States Constitution establishing Congressional term limits and further amend Article VIII to provide for informing voters on all primary and general election ballots whether candidates for the state legislature support Congressional term limits by printing adjacent to all incumbent candidates who failed to support Congressional term limits "DISREGARDED VOTER INSTRUCTION ON TERM LIMITS" and printing adjacent to non-incumbent candidates who refuse to take a term limits pledge "DECLINED TO TAKE PLEDGE TO SUPPORT TERM LIMITS"?
See our Opinion Letter No. 207-96.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Sincerely,
                                  JEREMIAH W. (JAY) NIXON Attorney General